Case 1:19-md-02915-AJT-JFA Document 2004 Filed 09/27/21 Page 1 of 4 PageID# 45760




                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

  IN RE: CAPITAL ONE CONSUMER               )
  DATA SECURITY BREACH LITIGATION           )                 MDL No. 1:19md2915 (AJT/JFA)
  __________________________________________)

  This Document Relates to CONSUMER Cases
  __________________________________________

      CAPITAL ONE AND AMAZON’S JOINT MOTION TO STAY ORDER REGARDING
                    THE UNSEALING OF EXHIBITS AND BRIEFS

         Defendants, Capital One Financial Corporation, Capital One Bank (USA), N.A., and

  Capital One, N.A. (collectively, “Capital One”) and Amazon.com, Inc. and Amazon Web Services,

  Inc. (collectively, “Amazon” and with Capital One, “Defendants”), by counsel and pursuant to

  Local Rule 7, respectfully move to stay any action required by forthcoming orders from Magistrate

  Judge John F. Anderson (the “Joint Motion to Stay”), including but not limited to further orders

  stemming from the Court’s September 10, 2021 Order [Dkt. No. 1955] denying in part and granting

  in part certain Motions to Seal filed by the parties [Dkt. Nos 1786, 1790, 1802, 1809, 1829, 1833,

  1843, 1881, 1887, 1888, and 1915]1 (the “Motions to Seal”), so that the District Judge can review

  Defendants’ anticipated objections to those Order(s) pursuant to 28 U.S.C. § 636(b)(3) and Fed.


  1
    The Motions to Seal are: Capital One’s Motion to Seal regarding Capital One’s Supplemental
  Brief regarding Plaintiffs’ Standing to assert Breach of Contract and Unjust Enrichment Claims
  [Dkt. No. 1786); Plaintiffs’ Motion to Seal regarding PowerPoint Presentations on July 12 and 13,
  2021 [Dkt. No. 1790]; Plaintiffs’ Motion to Seal regarding Plaintiffs’ Opposition to Capital One’s
  Motion for Summary Judgment [Dkt. No. 1802]; Plaintiffs’ Motion to Seal regarding Opposition
  to Amazon’s Motion for Summary Judgment [Dkt. Nos. 1809 & 1843]; Capital One’s Motion to
  Seal regarding Capital One's Opposition to Plaintiffs’ Motion for Partial Summary Judgment for
  Breach of Contract [Dkt. No. 1829]; Capital One’s Motion to Seal regarding Capital One’s
  Memorandum in Support of Motion in Limine to exclude Office of the Comptroller of the Currency
  (“OCC”) Documents [Dkt. No. 1833]; Plaintiffs’ Motion to Seal regarding Plaintiffs’ Opposition
  to Capital One's Motion in Limine regarding OCC Documents [Dkt. No. 1881]; Amazon’s Motion
  to Seal regarding Amazon’s Reply in Support of its Motion for Summary Judgment) [Dkt. No.
  1887]; Amazon’s Motion to Seal regarding Amazon’s Reply in Support of Motion for Summary
  Judgment [Dkt. No. 1888]; and Capital One’s Motion to Seal regarding Capital One’s Reply in
  Support of its Motion for Summary Judgment [Dkt. No. 1915].
Case 1:19-md-02915-AJT-JFA Document 2004 Filed 09/27/21 Page 2 of 4 PageID# 45761




  R. Civ. P. 72. Consistent with this request, Defendants also ask the Court to temporarily prohibit

  all parties and the Clerk from posting on the public docket unsealed or unredacted versions of any

  sealed documents until the District Judge rules on Defendants’ anticipated objections.

         The reasons in support of this Joint Motion to Stay are set forth in the accompanying

  memorandum. A proposed order is attached hereto as Exhibit 1.

         WHEREFORE, Defendants respectfully request that the Court: (1) grant this Joint Motion

  to Stay; and (2) grant any such further relief that the Court deems proper.




                                                   2
Case 1:19-md-02915-AJT-JFA Document 2004 Filed 09/27/21 Page 3 of 4 PageID# 45762




         Respectfully submitted this 27th day of September 2021.

   /s/ S. Mohsin Reza                               /s/ Robert R. Vieth__________________
   David L. Balser (pro hac vice)                   Robert R. Vieth, Esq. (VSB No. 24304)
   S. Stewart Haskins II (pro hac vice)             HIRSCHLER FLEISCHER, PC
   John C. Toro (pro hac vice)                      8270 Greensboro Drive, Suite 700
   Kevin J. O’Brien (VSB No. 78886)                 Tysons Corner, VA 22102
   Robert D. Griest (pro hac vice)                  T: (703) 584-8366
   KING & SPALDING LLP                              F: (703) 584-8901
   1180 Peachtree Street, N.E.                      Email: rvieth@hirschlerlaw.com
   Atlanta, GA 30309
                                                    Tyler G. Newby (admitted pro hac vice)
   Tel.: (404) 572-4600
                                                    Brian Buckley (admitted pro hac vice)
   Fax: (404) 572-5140
                                                    Laurence F. Pulgram (admitted pro hac vice)
   dbalser@kslaw.com                                Jedediah Wakefield (admitted pro hac vice)
   shaskins@kslaw.com                               Vincent Barredo (admitted pro hac vice)
   jtoro@kslaw.com                                  Andrew M. Lewis (admitted pro hac vice)
   kobrien@kslaw.com                                Janie Y. Miller (admitted pro hac vice)
   rgriest@kslaw.com                                Meghan E. Fenzel (admitted pro hac vice)
                                                    Sarah V. Lightstone (admitted pro hac vice)
   Robert A. Angle (VSB No. 37691)                  Rina Plotkin (admitted pro hac vice)
   Tim St. George (VSB No. 77349)                   FENWICK & WEST LLP
   Jon S. Hubbard (VSB No. 71089)                   555 California Street, 12th Floor
   Harrison Scott Kelly (VSB No. 80546)             San Francisco, CA 94104
   TROUTMAN PEPPER HAMILTON                         Telephone:     (415) 875-2300
   SANDERS LLP                                      Facsimile:     (415) 281-1350
   1001 Haxall Point                                Email: tnewby@fenwick.com
   Richmond, VA 23219                                      bbuckley@fenwick.com
   Tel.: (804) 697-1200                                    lpulgram@fenwick.com
   Fax: (804) 697-1339                                     jwakefield@fenwick.com
   robert.angle@troutman.com                               vbarredo@fenwick.com
   jon.hubbard@troutman.com                                alewis@fenwick.com
   timothy.st.george@troutman.com                          jmiller@fenwick.com
   scott.kelly@troutman.com                                mfenzel@fenwick.com
                                                           slightstone@fenwick.com
   Mary C. Zinsner (VSB No. 31397)                         rplotkin@fenwick.com
   S. Mohsin Reza (VSB No. 75347)
   TROUTMAN PEPPER HAMILTON                         Counsel for Defendants Amazon.com, Inc.
   SANDERS LLP                                      and Amazon Web Services, Inc.
   401 9th Street, NW, Suite 1000
   Washington, DC 20004
   Tel.: (202) 274-1932
   Fax: (202) 274-2994
   mary.zinsner@troutman.com
   mohsin.reza@troutman.com

   Counsel for Capital One

                                                3
Case 1:19-md-02915-AJT-JFA Document 2004 Filed 09/27/21 Page 4 of 4 PageID# 45763




                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 27, 2021, I caused the foregoing document to be filed

  with the Clerk of Court using the CM/ECF system, which will send notice of electronic filing to

  all counsel of record.

                                       /s/ S. Mohsin Reza
                                       S. Mohsin Reza
                                       Counsel for Capital One




                                                 4
